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 8
 9                   UNITED STATES DISTRICT COURT FOR THE
10                       EASTERN DISTRICT OF CALIFORNIA
11
       UNITED STATES OF AMERICA,  )          Case No. 08 CR 201 OWW
12                                )
            Plaintiff,            )          ORDER GRANTING
13                                )          EX PARTE MOTION TO EXONERATE
            vs.                   )          PROPERTY BOND
14                                )
       PETER HALAMANDARIS,        )
15                                )
            Defendant.            )
16     ___________________________)
17
18           IT IS HEREBY ORDERED, that the property bond in the
19     amount of $100,000 is hereby exonerated.         Therefore, a Deed
20     of Reconveyance for the Deed of Trust, filed in San Joaquin
21     County and with document number 2008-123772 shall be
22     executed and filed in the appropriate County Recorder’s
23     Office.
24     Dated: September 23, 2009
25
                                          /s/ OLIVER W. WANGER
26                                        Oliver W. Wanger, Judge
                                          United States District Court
27                                        Eastern District of California
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